        Case 2:21-cv-00574-MV-SMV Document 38 Filed 11/12/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


C.H.,

        Plaintiff,

v.                                                           No. 2:21-cv-00574-KRS-SMV

PATRICK HOWARD
AND LAS CRUCES PUBLIC SCHOOLS,

        Defendants.

                STIPULATED PROTECTIVE ORDER GOVERNING
              AUTHORIZATIONS FOR RELEASE OF INFORMATION
         AND FOR PRODUCTION OF PLAINTIFF’S PRIVATE INFORMATION

         THIS MATTER has come before the court upon the stipulation of the parties to provide

 for the Court's control over Defendants' use of various authorizations signed by Plaintiff C.H.,

 and Defendants' use of private information obtained by using said various authorizations. The

 Parties stipulate and the Court hereby orders as follows:

         1.      This Order applies to each and every Defendant in this case and operates to

 protect Plaintiff C.H.

         2.    Plaintiff shall sign an authorization for Defendants' use in this case (hereinafter,

"Authorization") to independently obtain copies of Plaintiffs mental health records, medical

records and educational records (hereinafter “Protected Documents.”)

         3.    Except by agreement of counsel, or by order of this Court, no Protected

Documents shall be requested for dates prior to 2016.

         4.      So that Plaintiff has knowledge of what Protected Documents are being requested

 for Defendants’ use and an opportunity to intervene and raise any necessary objection,

 counsel for Defendants shall "cc:" Plaintiff's counsel with a true copy of each and every

                                                  1
       Case 2:21-cv-00574-MV-SMV Document 38 Filed 11/12/21 Page 2 of 4




 request for Protected Documents, at the same time that request is sent, including a copy of

 the Authorization itself.

        5.      At the requesting Defendants’ expense, counsel for Defendants shall provide

 Plaintiff's counsel with a true copy of all Protected Documents received through the use of any

 Authorization within ten (10) business days of receipt of those documents.

        6.      The requesting Defendant stipulates that any Protected Documents the requesting

 Defendant obtains from any records custodian in accordance with this Order are "authentic" for

 purposes of Rule 11-1003 F.R.E.

        7.      Defendants and counsel for Defendants shall not use any Authorization for the

purpose of engaging in any ex-parte communications with any medical provider or school

administrator or educator or their staff, other than communications solely pertaining to a request

for Protected Documents.

        8.      Defendants and counsel for Defendants shall be responsible for the reasonable

use of the Authorization as follows:

               a)       The Authorization shall only be used for investigation by Defendants

       into matters relevant to this case.

               b)        Neither the Authorization nor any document obtained through the use of

       any Authorization shall be distributed or published in any forum or medium, except for the

       limited purpose of a mediation /settlement conference, deposition, or trial in this case.

               c)       Except as provided herein, Defendants and counsel for Defendants shall

       strictly maintain the confidentiality of the Protected Documents, including all information

       contained therein, and shall not disclose any Protected Documents or information contained

       therein to any person or entity that is not a party to this case.


                                                    2
       Case 2:21-cv-00574-MV-SMV Document 38 Filed 11/12/21 Page 3 of 4




        9.       Counsel for Defendants are permitted to disclose Protected Documents to

 Defendants’ insurer(s) providing coverage for Plaintiff’s claim, provided that Defendants’

 insurer(s) agrees to strictly adhere to all protections stated in this Order:

               a)        By sending Protected Documents or information contained therein to its

       insurer, Defendants and counsel for Defendants warrant they have provided a copy of this

       Order to the insurer(s), and the insurer(s) has agreed to be bound by the terms of this Order.

               b)        From the point of entry of this Order forward, the insurer(s) shall not

       disclose, disseminate, or "upload" any information concerning Plaintiff to any third-party

       database, such as the ISO database of claims or the MIB database.

               c)        By receiving Protected Documents or information contained therein,

       Defendants’ insurer(s) agrees to be bound to this Order and subject to the jurisdiction

       of this Court for the purpose of enforcing this Order.

        10.      At the close of litigation, all hard copies of records shall be returned to Plaintiff’s

 counsel; all electronic records shall be destroyed, with written confirmation from Defendants’

 counsel of compliance with this requirement.

        11.      This Court shall have continuing jurisdiction over the subject matter of this

 Order and over all parties covered by this Order, including Defendants’ insurer(s) pursuant

 to Paragraphs 8 and 9 herein.

Dated: November 12, 2021


                                       Honorable Judge STEPHAN M. VIDMAR
                                       United States Magistrate Judge




                                                     3
      Case 2:21-cv-00574-MV-SMV Document 38 Filed 11/12/21 Page 4 of 4




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                                                 4
